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 9

10                               UNITED STATES DISTRICT COURT
11                                     DISTRICT OF NEVADA
12   UNITED STATES OF AMERICA,                       ) Case No. 2:11-CR-434-LDG-(PAL)
                                                     )
13                  Plaintiff,                       )
                                                     )
14           v.                                      )
                                                     ) Stipulated Motion to Continue Discovery
15   EDUARD PETROIU, et. al.,                        )
                                                     ) (Ninth Request)
16                  Defendants.                      )
                                                     )
17                                                   )
18

19          COME NOW the parties and stipulate and jointly move this Court to continue the

20 discovery cut-off in the above-captioned case until November 15, 2017. This is the parties’ ninth

21 stipulated request for an extension of time.

22          After conducting extensive discovery, the parties have engaged in negotiations and have

23 agreed, in principle, to settle this matter for an agreed amount. Both Claimants and their lawyer

24 were prepared to sign the formal settlement agreement by the deadline of September 30, 2017.

25 However, Government counsel was recently advised by Claimants’ counsel that Atanas
26 Nedyalkova, one of the claimants herein, had to depart for Bulgaria on sudden and short notice to




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 1 attend to a family emergency involving his mother. He is expected to be gone for 45 days.

 2 Once he has returned, Claimants’ counsel has confirmed that both Nedyalkovas will promptly

 3 sign the settlement agreement that has been agreed to by all parties. Thereafter, that settlement

 4 agreement will be presented to this Court for final action and final disposition of this matter.

 5          Claimants’ counsel, Boris Avramski, has consented to this motion for extension of time.

 6          Given the foregoing, the parties have agreed to request that this Court extend the

 7 discovery cut-off deadline in this matter until November 15, 2017.

 8          This motion is not submitted solely for the purpose of delay or for any other improper

 9 purpose.

10          WHEREFORE, the parties move this Court to grant a continuance of the discovery cut-

11 off date until November 15, 2017, for the parties to formally finalize the terms of settlement of

12 this matter.

13          Dated this 20th day of September, 2017.

14
                                                          Respectfully submitted,
15
                                                          STEVEN W. MYHRE
16                                                        Acting United States Attorney
17
                                                          /s/ Michael A. Humphreys
18                                                        MICHAEL A. HUMPHREYS
19
20
                                                          IT IS SO ORDERED:
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22

23
                                                                          DISTRICT
                                                          UNITED STATES MAGISTRATE   JUDGE
24                                                        LLOYD D. GEORGE
                                                          DATED:      September 2017
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